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Retum Date: September 17, 2018

Time: 9:30 A.M.
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
(CENTRAL ISLIP)
_______________________________________________________ X
In Re:
Chapter 7
CEZARY S. WYSOCKI, Case No. 1-18-74507 (REG)

 

REPLY MEM()RANDUM OF LAW IN FURTHER SUPPORT ()F MOTION TO
VACATE THE AU'I`OMATIC STAY AND IN REPLY TO TRUSTEE'S OPPOSITION

 

Of Counsel:
Robert L. Gordon - 3443

LAW OFFICE OF ROBERT L. GORDON
Attorney for Creditor

140-50 Burden Crescent Owners Corp.

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I.
PRELIMINARY STA'I`EMENT

This Reply Aftirmation is made in response to the Trustee's opposition with respect to
Creditor's motion to Vacate the stay to permit the foreclosure sale of shares of stock ("Stock") and
proprietary lease appurtenant thereto ("l’roprietary Lease") allocated to cooperative apartment 213
(“Apartment"), located at 140-50 Burden Crescent, Briarwood, New York 11435 ("Building").

The first basis for denying the Trustee’s objection to the instant motion is that the Trustee
has not provided adequate assurance of protection of Creditor's interest with respect to any proposed
purchaser.

The second basis for denying the Trustee’s objection is_ that applicable state law as set forth
in Article 8 of the Uniform Commercial Code and the Martin Act does not permit a transfer free of
the Creditor's consent. Accordingly, all sales, assignments and transfers of the Stocl< and Proprietary
Lease are subject to Creditor's consent as a matter of state law apart from the limitations contained
in the Stock, By-laws and Proprietary Lease.

The third basis for denying the Trustee’s objection is that the nature of the Debtor's interest
in the Apartment is incapable of being sold without adversely affecting the property interests of the
Creditor's shareholders Therefore, the Stocl< and Proprietary Lease are indivisibly related and more
closely resemble a personal service contract than a straight lease.

The fourth basis for denying the Trustee’s objection is that the Trustee's time to assume the
Proprietary Lease had run as of September 3, 2018, such that the Proprietaiy Lease was rejected by
operation of law and there is no Proprietary Lease left to assume Accordingly, this Court should not

permit any sale whatsoever of the Stock and Proprietary Lease by the Trustee.

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E;ASI§
The facts underlying this objection are set forth in the annexed Aftirmation of Robert L.
Gordon, Esq. ("Gordon Affirmation“) and in the affidavit of Mark Novin, the managing agent for
the Creditor, in the underlying motion and Will not be'herein repeatedl The Court's attention is

respectfully directed to said Affiimation.

 

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III.
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A. THE TRUSTEE HAS FAILED TO PROVIDE ADEOUATE AS SURANCE OF FUTURE
PERFORMANCE UNDER THE PROPRIETARY LEASE

l. The Trustee's Right To Sell Debtor's Propen_ty Is Not Absolute.

A trustee who wishes to assign a contract or lease under Code § 363(t) must meet two
conditions: (l) the trustee must assume subject to the provisions in Code § 365 which will require
the curing of defaults under Code § 365(b), if they exist; and (2) the trustee must give adequate
assurance of future performance Code § 365(f)(2). The latter requirement is to protect the lessor or
party from the lease being assigned to an assignee who does not assume the contractual obligations
or who is a poor financial risk. For an example of what might otherwise happen, see Mohonk Real!y
Corp, v. Wz`se Shoe Sto)'es, Inc., 111 F.2d 287 (2d Cir.), cert denied, 311 U.S. 654 (1940) (assignee
never became contractually bound).

2. The Trustee Has Failed To Provide Adeouate Protection of Promct Cure and Future
-Performance.

At the heart of the treatment of secured claims under the Code is the concept of "adequate
protection". Section 362(d) requires that the stay be vacated for cause, including lack of "adequate
protection" of the interest of the objecting party. Section 363(e) of the Code requires that the sale of
property be conditioned or prohibited as is necessary to provide adequate protection. The court may
exercise its equitable discretion (in determining what is adequate assurance) to protect the interests
of both the debtor and the creditor and to further the underlying policy of the Code. Queens Blvd.
Wine & Lz`quor Corp. v. Blum, 503 F.Qd 202 (2d Cir. 1974). With respect to unexpired leases of a

debtor, Code Section 365 provides, in pertinent part, as follows:

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(b)(l) If there has been a default in an executory contract or unexpired
f lease of the debtor, the trustee may not assume such contract or lease
unless, at the time of assumption of such contract or lease, the trustee

(A) cures, or provides adequate assurance that the trustee will
promptly cure, such default;

(B) compensates, or provides adequate assurance that the
trustee will promptly compensate, a party other than the debtor to
such contract or lease, for any actual pecuniary loss to such party
resulting from such defauit; and

(C) provides adequate assurance of future performance under
such contract or lease.

Thus, in the case at bar, in order for the Trustee to prove that he can successfully sell the Stock and
Proprietary Lease, the Trustee must be able to demonstrate under Code §365(b)(l), that the Trustee
can provide adequate assurance of prompt cure and adequate assurance of future performance under
the Proprietaiy Lease. .

In the instant matter, the Debtor filed a petition in bankruptcy on or about July 3, 201 8. Since
this time, neither the Debtor nor the Trustee has made any payments of post petition rent. After
waiting three months since the debtor's filing of a petition in bankruptcy, the Trustee now first
proposes to attempt to sell at a public auction scheduled to be held in November, 201 S, the Stock
and Proprietary Lease thereto appurtenant No assurance has or can be been given by the Trustee that
there will be a successful sale of the Stocl< and Proprietary Lease at the scheduled auction, or at any
future time. Moreover, no assurance has been given that any proposed purchaser will be able to close
title. There are no assurances that sufficient sales proceeds will be realized from the proposed auction

to pay the creditors Finally, the Trustee has not proffered any proof of a proposed purchasers

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wherewithal to Creditor. Therefore, the Trustee has not demonstrated that a prompt cure can be made
at any time in the foreseeable future.

Even if the Interim Trustee is able to find a successful bidder, adequate assurance of future
performance by a proposed assignee is required to be shown The proposed assignee must at a
minimum demonstrate general financial circumstances and ability to satisfy the obligations under
the_Proprietary Lease and any other obligations necessary to carry the Apartment. See fn re
Brentano's, Inc., 29 B.R. 881 (Bankr. S.D.N.Y. 1983) (proposed assignee's good financial standing
constituted adequate assurance of future performance). Although the Code does not specifically
define adequate protection, it is generally agreed that adequate protection means that a secured
creditor must be givenreasonable assurance that the value of its secured interest in an item of
property is, and Will continue to be, protected 111 Re Lafayette Radr'o Electronics Corp., 9 B.R. 5 93,
598 (Banl<r. E.D.N.Y. 1981).

The legislative history of the adequate protection provisions of the Code indicates that
adequate protection "_m_u_st be provided to a creditor whose collateral is decreasing in value or is
being consumed during the stay." S. Rep. No. 95-598, 95th Cong., 2nd Sess., p. 4, reprinted in 1978
U.S. Code Cong. & Admin. News 5787, 5790 (emphasis added). Congress has recognized that
adequate protection is required so that " [s]ecured creditors [are] not deprived of the benefit of their
bargain.“ H.R. Rep. No. 95-595, 95th Cong., 2nd Sess., p. 339, reprinted in 1978 U.S. Code Cong.
& Admin. News 5963, 6295; Um'redSnv. Ass'n v. Timbers of Irrwood ForesrAssocs., Ltd. , 484 U.S.

365 (1988).

 

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2. The Trustee Has the Burden of Proving Adeguate Assurance of Protection.

Pursuant to Code §362(g), the Trustee has the burden of establishing that Creditor's interest
is adequately protected fn re Leonard, 151 B.R. 639 (Bankr. N.D.N.Y. 1992); In re Saint Perers
School, 16 B.R. 404 (Bankr. S.D.N.Y. 1982). Thus, "a secured creditor has the right to receive
adequate protection for any decline in value the collateral may suffer after the automatic stay is in
effect, since, but for the stay, the creditor could foreclose to prevent or mitigate any loss in the value
of the security". fn re Pine Lake Village Apartment Co., 19 B.R. 819 (Bankr. S.D.N.Y. 1982).

Moreover, we call to the Court's attention that there is no provision made in the Trustee’s
objection for the disposition of the Stock and Proprietary Lease in the event that a sale cannot be
effectuated In light of the prolonged period in which in the Creditor has not and will not be
receiving payment of post-petition maintenance and the lack of adequate assurance of future
performance, we respectfully request that the Trustee’s opposition to the instant motion be denied
on the grounds that the Trustee has failed to provide adequate assurance of future performance and
has not made any assurance of a prompt cure as required by the Code. fn re 160 Bleecker Street
Associates, 156 B.R. 405 (D.C. S.D.N.Y. 1993) (cooperative corporation obtained relief from the
automatic stay for lack of adequate protection under Code § 362(d)(1)).

B. APPLICABLE NON-BANKRUPTCY LAW DOES NOT PERMIT A SALE FREE AND
CLEAR OF THE CREDITOR'S INTERESTS UNDBR CODE SECTION 365(FL

1. Separate State Law Indenendent of the Contract or Lease Perrnits the Creditor to Withhold
Consent to an Assignment or Sale.

The out of the ordinary course of business sale of property subject to a lien was almost totally
left to case development under the former Bankruptcy Act. The landmark case was Van Hzgffel v.

Harkelroa’e, 284 U.S. 225 (1931), where the Supreme Court upheld thelpower of the bankruptcy

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court to sell encumbered property with the liens attaching to the proceeds. This power has been
expressly recognized in §363(f) which largely adopts the case law tests of creditor consent, the
existence of an equity, or a bona fide dispute as to validity of the encumbrance As a general rule,
the trustee may not be prevented from assigning an executory contract or unexpired lease by non-
bankruptcy law or terms of the contract or lease. Code § 365(f)(3). However, Code § 363(®(1)
provides that any sale is subject to applicable non-bankruptcy law permitting a sale free and clear

of a creditor's interest in the property to be sold

2. The Creditor Has A First Lien For Debtor's Obligations To Creditor And To Screen
Prost)ective Purchasers Under Article 8 Of The Uniform Commercial Code.

Uniform Cornmercial Code 8-103 provides that "A lien upon a security in favor of an issuer
thereof is valid against a purchaser only if the security is certificated and the right of the issuer to
such lien is noted conspicuously thereon." The back of the Certificate for the Stock in the instant

matter states in pertinent part:

"The rights of any holder of the shares evidenced by this
certificate are Subject to the provisions of the certificate of _
incorporation and by-laws of the corporation and to all the terms,
covenants, conditions, and provisions of a certain proprietary
lease made by and between the corporation, as Lessor, and the
person in whose name this certificate is issued, as Lessee, for an
apartment in the apartment house which is owned by the
corporation and operated as a ‘co-operative’, which proprietary
lease limits and restricts the title and rights of any transferee of
this certificate

T he shares represented by this certificate are transferable only as
an entirety and only to an assignee of such proprietary lease
approved in writing in accordance with the provisions of the
proprietary lease. The directors of this Corporation may refuse
to consent to the transfer of the shares represented by this
certificate until any indebtedness of the shareholder to the
Corporation is paid.

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...." (emphasis added)

lnALHProperties Ten, Inc. v. 3 06-1 OOFh Street Owners Corp., 86 N.Y.Zd 643, 635 N.Y.S.Zd
161 (1995), the Court oprpeals for the State ofNew York held that an apartment corporation had
an issuer's lien for maintenance obligations arising Article 8-103 of New York State Uniform
Comrnercial Code ("UCC") because the legend on the reverse side of the stock certificate complied
With the UCC provisions 635 N.Y.S .Zd at 163. The Court's reasoning would extend the issuer's lien
under the UCC for any provisions specifically enumerated on the stock certificate In the present
matter before this Court, two limitations are clearly spelled out on the reverse side of the Certificate
The first limitation is that all sales are subject to the consent of the Creditor. "The shares represented
by this certificate are transferable only as an entirety and only to an approved assignee of such
proprietary lease." The second limitation is for the cure of any and all shareholder indebtedness to
the Creditor prior to the transfer:

"The directors of this Corporation may refuse to consent to the
transfer of the shares represented by this certificate until any
indebtedness of the shareholder to the Corporation is paid. The
Corporation by the terms of said By-laws and proprietary lease has
a first lien on the shares represented by this certificate for all sums
due and to become due under the proprietary lease."

Because Article 8-103 of the UCC independently provides for an issuer‘s lien where the
certificate states that any transfer of stock is subject to the creditor's consent to any proposed sale and
cure of outstanding indebtedness, the Interim Trustee cannot transfer the Stock and Proprietaiy Lease
appurtenant thereto without obtaining the Creditor's consent and curing all maintenance arrears.

l hasten to point out to this Court that l do not believe or argue that the presence of the

restrictions themseives compel the granting of the relief requested The insertion of those very

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restrictions into the Stock, By-Laws, and Proprietary Lease in compliance with independent state law
requirements satisfies the objective conditions set out in the Uniform Commercial Code and Martin

Act and the regulations thereunder promulgated

3. Part 18 of the Regulations Prornulgated under Generai Business Law Section 352-cce
Establishes Creditor's Consent as a Prereguisite to Any Transfer of Stock and Proprietary

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The Martin Act as codified at New York General Business Law § 3 52-eee ("GBL") requires
disclosure of all of the material terms by offerors of cooperative securities offerings as set forth in
a plan of cooperative ownership Once submitted for filing, an offering plan is an instrument binding
upon the offeror, as well as the operative cooperative and establishes the terms and conditions of the
offering, which cannot be varied without a duly filed amendment accepted for filing by the
Department of Law of the State ofNew York. 13 NYCRR Part 18.3(a)(12) (1991) ("Regulations").
As such, GBL § 352-eeo and the Regulations promulgated thereunder recognize the formation of
cooperative entities which may refuse to consent to an assignment as a valid power of the
corporation without more. In particular, the Regulations at Part 18.3(u)(l) requires an offeror to state
any "restrictions on the shareholdersl right to . . . seil, lease or pledge the shares and proprietary
lease." ln the present matter, the By-iaws and Proprietary Lease comply with the Regulations and
contain restrictions upon resale without the Creditor's consent ln this respect, the present matter is
similar to 111-re Clar'emontAcquisition Corp., l 86 B.R. 977 (C.D. CA 1995), in Which the Court held '
that a state statute could restrict transfer of auto dealership, where the condition of transfer was
premised upon manufacturers consent which could not be unreasonably withheld

ln contrast to the reasonableness standard discussed in the Clcrr'emont case, under the

Business Judgment Rule, the actions of the Cooperative‘s Board of Directors in New York are not

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reviewable by a court under a reasonableness test, except under very limited circumstances not
involved in this matter, where the Board of Directors of the Creditors is acting in the best interests n
of the shareholders in their business judgmentl Levandusky v. One Fiflh Avenue Ap_t. Corp., 75
N.Y.2d 530, 554 N.Y.S.Zd 807 (1990). Accordingly, independent grounds exist to bar the sale of the
Sto ck and Proprietary Lease free of the Creditor's liens under applicable state law governing the sales

of securities

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C. THE STOCK AND PROPRIETARY LEASE MAY NOT BE SOLD WITHOUT
ADVERSELY AFFECTING THE PROPERTY INTERESTS OF THE CREDITOR AND
ITS SHAREHOLDERS.

1 . Personal Service Contracts May Not Be Assumed or Assigned
Subsections (c) and (e) of Code § 365 should be considered together. The fenner precludes
assumption or assignment of certain types of contracts, while the latter permits their termination The
trustee may not assume or assign a contract lease if non-bankruptcy law excuses the other party from
accepting substituted performance (uniess the other party consents to the assumption ofassignment).
Code § 365(c)(1)(A) provides:
The trustee may not assume or assign an executory contract or
unexpired lease of the debtor, whether or not Such contract or lease
prohibits or restricts assignment of rights or delegation of duties, if--
applicable law excuses a party, other than the debtor, to
such contract or lease from accepting performance or rendering
performance to an entity other than the debtor or the debtor in
possession, whether or not such contract or lease prohibits or restricts
assignment of rights or delegation of duties....
The prohibition applies only when the excuse from performance is independent of any restrictive
words in the contract or lease and often relates to so-called "personal service contracts." An example
would be an employment contract Case law determines whether franchise agreements, licenses, and
other agreements are covered. See fn re Wills Motors, Inc., 133 B.R. 303 (Bankr. S.D.N.Y. 1991),
ajj“d, SAAB Cars USA, Inc. v. Wills Motors, Inc., 134 B.R. 124 (D.C. 1991); fn re Luce Industries,
Inc., 14 B.R. 529 (D.C. S.D,N.Y. 198 l)(assignment of license not permitted to new manufacturer
who would not follow prior practices); Irz re Bronx- Westchester Mack Cor'p., 20 B.R. 139 (S.D. N.Y.
1982); and fn re Pioneer Ford Sales, Inc., 729 F.2d 27 (lst Cir. 1984) (§ 365(c) applies generally

to contracts that are not assignable under non-bankruptcy law). No cases were discovered involving

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the sale of cooperative stock and leases and this is a matter of first impression to the best of our
awareness

Where state law excuses non-debtorfrom accepting personal services from another par'ty,
such a contract or lease is not assignable without the permission of the other party. fn re Cardinal
Indu.s., Inc., 116 B.R. 964 (S.D. Ohio 1990) (limited partners were not required to accept
performance from general partner's assignee).l Personal service agreements are not property of the
estate and can neither be assumed nor rejected fn re Ca)‘rere, 64 B.R. 156 (C.D. Cal. 1986). The
purpose of § 363(0) is to prevent a debtor or trustee from forcing a non-debtor part), to accept
performance from, or to provide performance to, someone other than the party with whom it
contracted in situations when the identity and abilities of the party are central to the obligation
Marter ofMidway Az'rlines, Inc., 6 F.3d 492 (7th Cir. 1993) (citati_ons omitted). The key question
before this Court is whether the sale of stock and lease allocated to a cooperative apartment is
something more than the assignment of a plain lease with no other interests involved.

Recently, the Court in fn re Magness, 972 F.2d 689, 27 C.B.C.2d 862 (6th Cir. 1992),v held
that a membership in a private golf club is not assignable by a trustee because the property interest
of third party club members cannot be properly protected. ln the present action, the Debtor's interest
more closely resembles membership in an exclusive club than that of a straight leaseholder because
more than one bundle of rights and obligations is involved. The Debtor's Certificate itself is the
indicia of title to shares of Stock in the Creditor, which in turn, permits the Debtor's right to occupy
and use cooperative space held in fee by the Creditor. Matter of State Tax Commn. v. Shor, 43
N.Y.2d 151, 157-58, 400 N.Y.S.2d 805, 807-08 (1977); Silverman v. Alcoa Plaza Associates, 37

A.D.2d 166, 323 N.Y.S.Zd 39 (lst dept. 1971). To the same extent the Debtor's entree into the

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' Creditor's cooperative is similar to an applicant's membership to a country or golf club. Once that
member is approved by an admissions committee, the payment of dues entitles the holder of the
membership to certain rights enjoyed in common with the other members, including the right to
exclude others (within permissible legal limits not involving invidious discrimination), who are not
perceived as being compatible Accordingly, the component of rights and obligations of ownership
in a cooperative involving the property interests of third parties precludes assumption or assignment
of the Stock by the Interim Trustee. This distinction is also recognized in In re Claremom‘
Acquisition Corp., 186 B.R. 977 (C.D. CA 1995) (state statute could restrict transfer of auto
dealership where condition of transfer was premised upon manufacturers consent which could not
be unreasonably withheld).

The element of the Creditor's right to limit association in a valuable membership, which is
so much a part of cooperative ownership, necessitates that the property interests of third persons be
protected by this Court, and that the Creditor have the right to terminate the Stock and Proprietary
lease in accordance with § 365(e)(1) and \(2).

3. Contracts Are Not Severable

While debtors and trustees have the right to assume and assign, they have not been given the
power to rewrite contracts at will. Arlantic Computer Sysrems, ]nc. v. Pieco, Inc., 1994 U.S. Dist.
LEXlS 11448 (S.D.N.Y. 1994). Under § 365 of the Code, a debtor may not "cherry pick" pieces of
contracts it wishes to assume. (citations omitted). Thus, executory contracts and unexpired leases
may not be assumed in part and rejected in part. fn re New York T)'ap Rock Corp., 137 B.R. 568
(S.D.N.Y. 1992); fn reS.E. Nr`chols, Inc., 120 B.R. 745 (S.D.N.Y. 1990). Likewise, the cure power

should not be used to expand rights under a contract. Good Hope Refneries, Inc. v. Benavl`des, 602

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F.2d 998 (1st Cir.), cert denied, 444 U.S. 992 (1979). Therefore, in the present matter, the Trustee 7
cannot successfully argue that the Stock and Proprietaly Lease are separate interests because they
are inextricably tied together and one may not be sold or assigned without the other.
D. THE TRUSTEE'S TIME TO ASSIGN THE LEASE HAS ALREADY RUN.
1. TirneLimits Under The Banl<ruptcy Code.

In liquidation cases under Chapter 7, Code 365(d)(1) requires that the trustee assume within
60 days or the contractor lease is deemed rej ected. However, this time may be extended by the court,
for cause, for additional periods. I-lowever, upon information and belief, no motion was ever made
by the Debtor or Trustee to extend the period of time to assume or assign the Stock and Proprietary
Lease prior to September 3, 2018. Section 365(d)(1) is a potential trap for the debtor or trustee who
fails to assume or assign timely. The purpose of this provision is to "prevent parties in contractual
or lease relationships with the debtor from being left in doubt concerning their -status vis-a-vis the
estate". See fn re Shoppers Paradise, Inc., 7 B.C.D. 69 (Bankr. S.D.N.'Y. 1980).
2. Effect of Rejection

Generally, rejection of an executory contract or unexpired lease constitutes a breach as of the
date immediately preceding the date of the petition. Code § 365 (g)(l). See Lubrizol Em‘elprr`ses, Inc.
- v. Richmond Metal Finishers, Inc., 756 F.2d 1043 (4th Cir. 1985), cert denied, 457 U.S. 1057
(1986).

As set forth in the Gordon Affirmation, the Creditor's lien against the Stock is being
continually eroded by the continually increasing amounts of maintenance arrears, interest charges,

legal fees and other charges due from the Debtor which are continuing

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Thus, as in 160 Bleecker iSlti'eet, where the District Court concluded that the value of the
apartments as collateral was being harmedby the stay, it cannot be disputed that, the value of the
Stock as collateral for Creditor's secured lien is being continually diminished as a result of the
Bankruptcy Stay and Creditor's interest in the Stock is not being adequately protected, and is being
harmed by the Stay. lndeed, while the Debtors in 160 Bleecker Street filed a plan of reorganization
(a plan that the District Court found was "woefully inadequate", 156 B.R. at 41 l), in the instant case,
it is almost three months since the Debtor's filing of its petition for relief, and no relief is imminent
Based on the foregoing and the other reasons set forth in this Memorandum of Law it is improper
to require Creditor to suffer further impairment of its interest in the Stock during any continuation
of the stay. fn re 160 Bleecker Str'eet Associates, 156 B.R. 405 (D.C. S.D.N.Y. 1993),' fn re Saz'nr
Peters Schoo!, 16 B..R 404 (Bankr. S.D.N.Y. 1982);In1'e Term MarAssociates, 3 B.R. 462 (Bani<r.
D. Conn 1980). Accordingly, Creditor is entitled to an Order vacating the automatic stay under Code

§ 362(d)(1), for "cause", including the lack of adequate protection of Creditor's interest in the Stock.

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WHEREFORE, I request that this Court grant Creditor's request to vacate the automatic
stay, deny the Trustee's objection to the instant motion, and grant such other and further relief as to

the Court may seem just and proper.

Dated: September 15, 2018
Palisades, New York

Yours, etc.

LAW OFFICE ()F ROBERT L. GORDON
Attorney for Creditor

140-50 Burden Crescent Owners Corp.

21 Swan Street

Palisades, New York 10964

(718) 267-9513

By: S/Robert L. Gordon
Robert L. Gordon ( RG3443)

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AFFIDAVIT OF SERVICE

STATE OF NEW YORK )
)ss.:
C()UNTY OF QUEENS )
SHIRLEY D. GORDON, being duly sworn deposes and says:

That 1 am over eighteen (18) years of age and reside at 21 Swan Street, Palisades, New Yorl<
10964

That on September 15, 2018, I served a true copy of the Reply Mernorandurn in Support of
Motion to Vacate the Automatic Stay by mailing same in a sealed envelope, with postage prepaid
thereon, in a post-office or official depository of the U.S. Postal Service within the State of New
York, by regular mail, addressed to the last known address of the addressee as indicated beloW:
'1`0:

Cezary S. Wysocki
50 Tree Road
Centerreach, New York 11720

Rachel Cowart

140-50 Burden Crescent

Unit 2E

Briarwood, New York 11435-2340

s/Shirley D. Gordon

Sworn to before me this

15‘h day of September, 2018
s/Robert L. Gordon

Qualified in Rockland County
NOTARY PUBLIC No. XX-XXXXXXX
Commission Expires June 29, 2019

 

